         Case 1:19-cr-00228-RMB Document 66
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                                         U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
2019.04.04 Speedy                                     One Saint Andrew’s Plaza
 Trial Letter.docx                                    New York, New York 10007




                                                      October 19, 2020

BY CM/ECF
The Honorable Richard M. Berman
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007


        Re:      United States v. Santos Felix, 19 Cr. 228 (RMB)

Dear Judge Berman:

          The Government writes to respectfully request a 45-day adjournment of the sentencing
proceeding in this matter, currently scheduled for October 21, 2020, at 9:00 a.m. via
videoconference.

         On March 3, 2019, defendant Cristopher Santos Felix was detained after assaulting a law
enforcement officer who was seeking to arrest him. On October 23, 2019, defendant Cristopher
Santos Felix pleaded guilty before the Honorable Debra Freeman to one count of assaulting a
federal officer, in violation of 18 U.S.C. § 111(a)(1) and (b). On October 28, 2019, the Court
accepted the defendant’s plea before the magistrate court, and scheduled a sentencing proceeding
for January 23, 2020. Sentencing was subsequently adjourned on several occasions, initially to
permit the defendant to obtain a report from a sentencing mitigation specialist and later due to the
COVID-19 pandemic. See Dkt. Nos. 47, 50, 52, 55, 58, 59, 63. On June 8, 2020, the defendant
filed a sentencing submission in which he seeks a sentence of 33 months’ imprisonment. Dkt. No.
56. On August 19, 2020, the Government filed a sentencing submission in which it sought a within
the applicable Sentencing Guidelines range of 63 to 78 months’ imprisonment. Dkt. No. 61. To
date, the defendant has served less than 20 months in pretrial detention. Sentencing is currently
scheduled for October 21, 2020, at 9:00 a.m. via videoconference.

         The Government seeks a 45-day adjournment of the sentencing proceeding in this matter
because an in person proceeding cannot be conducted on October 21, 2020, and the necessary
findings cannot be made under the CARES Act to proceed via video conference or teleconference
at this time. 1 After 45-days, it is more likely that an in-person sentencing could be held before the



1
  Section 15002(b) of the CARES Act allows for sentencing proceedings to be held via video
teleconferencing and telephone conferencing when the district judge “in a particular case finds for
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Court. On October 19, 2020, I communicated with defense counsel, who has no objection to this
request.

       Thank you for your consideration of this matter.

                                               Respectfully submitted,

                                               AUDREY STRAUSS
                                               Acting United States Attorney

                                         by:      /s/
                                               Kedar S. Bhatia
                                               Assistant United States Attorney
                                               (212) 637-2465




      Application granted. Sentencing is
      adjourned to Tuesday, January 5, 2021
      at 9:00 AM.




           10/20/2020




specific reasons that the plea or sentencing in that case cannot be further delayed without serious
harm to the interests of justice.”
